

People v Morales (2018 NY Slip Op 06138)





People v Morales


2018 NY Slip Op 06138


Decided on September 20, 2018


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 20, 2018

Richter, J.P., Manzanet-Daniels, Andrias, Kern, Singh, JJ.


5137 2829/14

[*1]The People of the State of New York, Respondent,
vPedro Morales, Defendant-Appellant.


Christina Swarns, Office of the Appellate Defender, New York (Rosemary Herbert of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Kristina D. Amundsen of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Margaret Clancy, J.), rendered April 5, 2016,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: SEPTEMBER 20, 2018
CLERK
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate
Division, First Department.








